       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Timothy Lawerence Doscoli
       v. Commonwealth of Virginia
       Record No. 0517-15-3
       Opinion rendered by Judge Petty on
        June 21, 2016

    2. Robert Van Buren, Sr.
       v. Augusta County, et al.
       Record No. 1975-15-3
       Opinion rendered by Judge AtLee on
        July 19, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Mark O’Hara Wright
   v. Commonwealth of Virginia
   Record No. 0585-13-3
   Opinion rendered by Judge Petty
    on November 18, 2014
   Judgment of Court of Appeals affirmed in part and reversed and final judgment
     entered in part by opinion rendered on August 18, 2016 (150181)

2. Andrew Wallace
   v. Commonwealth of Virginia
   Record No. 1476-14-1
   Opinion rendered by Judge Petty
    on July 28, 2015
   Affirmed by order entered on June 2, 2016 (151296)

3. Clayton George Smith
   v. Commonwealth of Virginia
   Record No. 0427-14-4
   Opinion rendered by Judge Humphreys
     on October 31, 2015
   Refused (151865)

4. Cris R. Anderson
   v. Cris R. Anderson, d/b/a Anderson Plumbing and Firstcomp Insurance Company
   Record No. 0697-15-2
   Opinion rendered by Judge Russell
     on November 10, 2015
   Dismissed pursuant to Code § 17.1-410(A)(2) and (B)
    (151873)

5. Jerrell Cortez Edwards
    v. Commonwealth of Virginia
   Record No. 0954-14-1
    Opinion rendered by Judge O’Brien
     on December 22, 2015
    Refused (160123)

6. Marquis Durrell Jennings
   v. Commonwealth of Virginia
   Record No. 0063-15-1
   Opinion rendered by Judge AtLee
    on December 22, 2015
   Refused (160131)
         The Supreme Court issued an opinion in the following case, which had been
   appealed from this Court:

1. Artvaius Darrell Scott
   v. Commonwealth of Virginia
   Record No. 0626-14-2
   CAV petition for appeal denied by Judge Kelsey on March 18, 2015 and by
    Chief Judge Huff , Judges Beales and AtLee on May 20, 2015
   Judgment of Court of Appeals affirmed by opinion rendered on August 18, 2016
   (150932)
